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                      UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF TEXAS


   CRAIG CUNNINGHAM,                                §
   Plaintiff,                                       §
                                                    §
   v.                                               §
                                                    §
   Lifestyles Development, LLC, and Florida         § A ' i <*i     ., L
   Vacation Villas Club, Inc., RCI, LLC DBA         § '            v
   Resort Condominiums International, LLC,          §
   David Perme, Robert Verkaik, and Bridget         §
   Pasquarello


   Defendant




                                 Plaintiffs Original Complaint


                                               Parties

   1. The Plaintiff is Craig Cunningham and natural person and was present in Texas for all

        calls in this case in Collin County, 3000 Custer Road, ste 270-206, Plano Tx 75075.

   2. Lifestyles Development, LLC is a Missiouri corporation that can be served via

        registered agent David Perme 430C S. Highway 165, Branson, MO 65616 or 595

        Concord Ave., Branson, MO 65616.

   3. David Perme is a natural person and corporate officer of Lifestyles Development,

        LLC and can be served at 101 State Drive, ste 250 Hollister, MO 65672.

   4. RCI, LLC dba Resort Condominiums International, LLC is a Texas corporation that

        can be served via registered agent Corporate Creations Network, Inc., 2425 W. Loop

        South #200 Houston, Tx 77027
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   5. Florida Vacation Villas Club, Inc., is a Florida corporation an can be served via

      registered agent Thomas Daku and can be served at 2770 N. Poinciana Blvd.,

      Kissim ee, FL 34746.

   6. Robert Verkaik is a natural person and can be served at 2770 N. Poinciana Blvd.,

      Kissimmee, FL 34746.

   7. Bridget Pasquarello is a natural person and can be served at 2770 N. Poinciana Blvd.,

      Kissimmee, FL 34746.

   8. John/Jane Does 1-4 are other liable parties currently unknown to the Plaintiff.

                                 JURISDICTION AND VENUE

   9. Jurisdiction. This Court has federal-question subject matter jurisdiction over

      Plaintiffs TCP A claims pursuant to 28 U.S.C. § 1331 because the TCP A is a federal

      statute. Mims v. Arrow Fin. Servs., LLC, 565 U.S. 368, 372 (2012). This Court has

      supplemental subject matter jurisdiction over Plaintiff s claim arising under Texas

      Business and Commerce Code 305.053 because that claim: arises from the same

      nucleus of operative fact, i.e.. Defendants telemarketing robocalls to Plaintiff; adds

      little complexity to the case; and doesn’t seek money damages, so it is unlikely to

      predominate over the TCPA claims.

   10. Personal Jurisdiction. This Court has general personal jurisdiction over the

      defendant because they have repeatedly placed calls to Texas residents, and derive

      revenue from Texas residents, and the sell goods and services to Texas residents,

      including the Plaintiff.

   11. This Court has specific personal jurisdiction over the defendants because the calls at

      issue were sent by or on behalf of Lifestyles Development, LLC, RCI, LLC DBA
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      Resort Condominiums International, LLC, and Florida Vacation Villas Club, Inc.,

   12. Venue. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(l)-(2)

      because a substantial part of the events giving rise to the claims the calls and sale of

      goods and services directed at Texas residents, including the Plaintiff occurred in

      this District and because the Plaintiff resides in this District, residing in the Eastern

      District of Texas when he recieved a substantial if not every single call from the

      Defendants that are the subject matter of this lawsuit. Many of the defendants in this

      case are registered in Texas or have offices in Texas.

   13. This Court has venue over the defendants because the calls at issue were sent by or on

      behalf of the above named defendants to the Plaintiff a Texas resident.

      THE TELEPHONE CONSUMER PROTECTION ACT OF 1991, 47 U.S.C. §

      227

   14. In 1991, Congress enacted the TCP A in response to a growing number of consumer

      complaints regarding telemarketing.

   15. The TCP A makes it unlawful to make any call (other than a call made for emergency

      purposes or made with the prior express consent of the called party) using an

      automatic telephone dialing system or an artificial or prerecorded voice ...to any

      telephone number assigned to a ... cellular telephone service. 47 U.S.C. §

      227(b)(l)(A)(iii).
   16. The TCPA makes it unlawful “to initiate any telephone call to any residential

      telephone line using an artificial or prerecorded voice to deliver a message without

      the prior express consent of the called party, unless the call is initiated for emergency

      purposes, is made solely pursuant to the collection of a debt owed to or guaranteed by
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      the United States, or is exempted by rule or order of the Federal Communication

      Commission ( FCC”). 47 U.S.C. § 227(b)(1)(B).

   17. The TCPA provides a private cause of action to persons who receive calls in violation

      of § 227(b). 47 U.S.C. § 227(b)(3).

   18. Separately, the TCPA bans making telemarketing calls without a do-not-call policy

      available upon demand. 47 U.S.C. § 227(c); 47 C.F.R. § 64.1200(d)(1).1

   19. The TCPA provides a private cause of action to persons who receive calls in

      violation of § 227(c) or a regulation promulgated thereunder. 47 U.S.C. § 227(c)(5).

   20. According to findings of the FCC, the agency vested by Congress with authority to

      issue regulations implementing the TCPA, automated or prerecorded telephone calls

      are a greater nuisance and invasion of privacy than live solicitation calls and can be

      costly and inconvenient.

   21. The FCC also recognizes that wireless customers are charged for incoming calls

      whether they pay in advance or after the minutes are used. In re Rules and

      Regulation Implementing the Tel Consumer Prot. Act of 1991, 18 FCC Red. 14014,

      141151 165 (2003).

   22. The FCC requires “prior express written consent” for all autodialed or prerecorded

      telemarketing robocalls to wireless numbers and residential lines. In particular: [A]

      consumer s written consent to receive telemarketing robocalls must be signed and be

      sufficient to show that the consumer: (1) received clear and conspicuous disclosure

      of the consequences of providing the requested consent, i.e., that the consumer will

      receive future calls that deliver prerecorded messages by or on behalf of a specific


   1 See Code of Federal Regulations, Title 47, Parts 40 to 60, at 425 (2017)
   (codifying a June 26, 2003 FCC order).
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      seller; and (2) having received this information, agrees unambiguously to receive

      such calls at a telephone number the consumer designates. In addition, the written

      agreement must be obtained without requiring, directly or indirectly, that the

      agreement be executed as a condition of purchasing any good or service.

   23. In the Matter of Rules & Regulations Implementing the Tel. Consumer Prot. Act of

      1991,27 FCC Red. 1830, 1844133 (2012) (footnote and internal quotation marks

      omitted). FCC regulations generally establish that the party on whose behalf a

      solicitation is made bears ultimate responsibility for any violations. In the Matter of

      Rules and Regulations Implementing the Tel. Consumer Prot. Act of 1991, 10 FCC

      Red. 12391, 12397 113 (1995).

   24. The FCC confirmed this principle in 2013, when it explained that “a seller ... may be

      held vicariously liable under federal com on law principles of agency for violations

      of either section 227(b) or section 227(c) that are committed by third-party

      telemarketers. In the Matter of the Joint Petition Filed by Dish Network, LLC, 28

      FCC Red. 6574, 6574 1 (2013).

   25. Under the TCP A, a text message is a call. Satterfield v. Simon & Schuster, Inc., 569

      F.3d 946, 951-52 (9th Cir. 2009).

   26. A corporate officer involved in the telemarketing at issue may be personally liable

      under the TCPA. E.g., Jackson Five Star Catering, Inc. v. Beason, Case No. 10-


       10010,2013 US. Dist. LEXIS 159985, at *10 (E.D. Mich. Nov. 8,2013) (“[M]any

      courts have held that corporate actors can be individually liable for violating the

      TCPA where they had direct, personal participation in or personally authorized the

      conduct found to have violated the statute.” (internal quotation marks omitted));
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      Maryland v. Universal Elections, 787 F. S pp. 2d 408, 415 - 16 (D. Md. 2011) ( If

      an i dividual acting on behalf of a corporation could avoid individual liability, the

      TCPA would lose much of its force. ).

                        The Texas Business and Commerce Code 305.053

   27. The Texas Business and Commerce code has an analogus portion that is related to the

      TCPA and was violated in this case.

   28. The Plaintiff may seek damages under this Texas law for violations of 47 USC 227 or

      subchapter A and seek $500 in statutory damages or $1500 for willful or knowing

      damages.


                                   FACTUAL ALLEGATIONS

   29. The Defendants in this case have placed at least 15 calls to the Plaintiffs cell phone

      615-212-9191 without the Plaintiff s consent and unrelated to any emergency

      purpose. The calls were initiated using an automated telephone dialing system and

      pre-recorded message. The caller ID was 469-207-1254 and the calls, dates, and times

      follow below.

   30. November 2018:

   Date/Time              Type         Number             Duration    Direction   Network
      23/11/2018 10:39 PM call         (469) 207-1254     33s         inbound     cell
      23/11/2018 10:38 PM call         (469) 207-1254     26s         inbound     cell
      23/11/2018 10:37 PM call         (469) 207-1254     31s         inbound     cell
      23/11/2018 10:37 PM call         (469) 207-1254     4s          inbound     cell
      21/11/2018 10:41 PM call         (469) 207-1254     5m 13s      inbound     cell
      21/11 2018 10:40 PM call         (469) 207-1254     26s         inbound     cell
      21/11/2018 10:33 PM call         (469) 207-1254     16s         inbound     cell
      21/11 2018 10:13 PM call         (469) 207-1254     19m 58s     inbound     cell
      21/11 2018 10:30 PM call         (469) 207-1254     20s         inbound     cell
      21/11/2018 10:19 PM call         (469) 207-1254     10m 50s     inbound     cell

   31. December 2018:

   Date/Time              Type        Number             Duration    Direction    Network
      29/12/2018 5:06 PM call         (469) 207-1254     29s         inbound      cell
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      27/12/2018 5:24 PM call        (469) 207-1254     35s         inbound     cell
     24/12/2018 11:29 PM call        (469) 207-1254     29s         inbound     cell
      21/12/2018 9:20 PM call        (469) 207-1254     30s         inbound     cell
      21/12/2018 1:13 AM call        (469) 207-1254     1m 20s      inbound     cell



      Lifestyles Development, LLC, and Florida Vacation Villas Club, Inc., RCI, LLC

                                       calls to the Plaintiff

   32. Mr. Cunningham received multiple calls from a variety of spoofed caller ID s that

      were initiated using an automated telephone dialing system. The calls were on behalf

      of Lifestyles Development, LLC, and Florida Vacation Villas Club, Inc., RCI, LLC.

      The calls had a delay of 3-4 seconds of dead air before the trademarked audible tone

      of ViciDiaTs sounded giving the indication that the call was initiated using an

      automated telephone dialing system. The Plaintiff recieved calls directly from agents

      acting on behalf of Lifestyles Development, LLC, and Florida Vacation Villas Club,

      Inc., RCI, LLC as well. The Plaintiff recieved at least 15 calls by or on behalf of the

      defendants.

   33. Starting in November 2018, the Plaintiff recieved multiple calls from multiple

      spoofed and non-working caller ID s all designed to trick consumers into picking up

      the phone by using false, misleading, and fraudulent caller ID s. These calls were not

      related to an emergency purpose or with the Plaintiffs consent.

   34. All calls were from 469-207-1254 to 615-331-7262 on 11/21/2018 was initiated by

      an automated telephone dialing as indicated by a 3-4 second delay and the Vici Dial

      trademarked audible tone when then call connected. The agent falesly claimed he was

      calling by or on behalf of Embassy Suites and offered two roundtrip airline tickets

      and a free vacation of 3 day, 2 night hotel accomodation. The agent stated during the

      call that the travel seminar was to be scheduled at location in Carrolton, Tx on
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      Valwood parkway.

   35. On November 21,2018, the Plaintiff recieved an email from Blair Watson and

                                                , Ex A and contained an attachment Ex B,

      which touted a vacation seminar at 1430 Valwod Park Way, suite 120, Carrolton, Tx

      75006 on November 24,2018, which corresponds to the address stated in the initial

      call.. The Plaintiff attended this timeshare presentation and was presented with

      documents Ex C which indicate the true entities on whose behalf the calls were being

      placed.

   36. The documents specificially mention Lifestyles Development, LLC, RCI, LLC and

      refer to Florida Vacation Villas Club, LLC as well. At the top of the page, titled

       pruchase agreement , it lists Lifestyles Development, LLC dba Lifestyles Access.

      This corresponds to the subject of the email which was Confirmation Letter Lifestyle

      Access Network . Additionally, the document states that Lifestyle Development, LLC

      is developing and constructing a resort known as The Lodges at Indian Point Resort

   37. The paperwork indicated that the vacation points program is owned and administered

      by Resort Condominimums International (RCI) and that 30,000 annual RCI Vacation

      points were offered to the Plaintiff for purchase at $25,000.

   38. A simple google search of RCI Lodges at indian point” returned a property listing

      associated with the RCI website EX D for resort #DG57 indicating that the property

      is contracted with RCI as an available property.

   39. Additionally, according to www.lifestylesvacationre oits.com/about-us.ht l, See Ex

      E, David Perme is the owner and managing member of Lifestyles Development, LLC

      and The advertised property, The Lodges at Indian Point Resort, is 100% under his
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       ow ership and management.

   40. According to the documents, the Plaintiff was offered the opportunity to purchase

       more RCI points by calling 844-225-5724, which is actually the number for Florida

       Vacation Villas Club, LLC a Florida corporation selling points on behalf and for the

       benefit of RCI, LLC. RCI, LLC and Florida Vacation Villas have a contract to sell

       points in Texas to Texas residents.

   41. In the operating rules and regulations, Purchase agreement is defined as that

       agreement that each member has executed to and in favor of Developer, that among

       other things identifies the number of vacation points attributable to each member s

       usage rights, subject to those adjustment and modification rights reserved to RCI. In

       the document, Developer is defined as Lifestyles Development, LLC dba Lifestyles

       Access.


   42. Mr. Cunningham has a limited data plan. Incoming text messages chip away at his

      monthly allotment.

   43. Mr. Cunningham has limited data storage capacity on his cellular telephone.

      Incoming calls from the Defendants and his related entities consumed part of this

      capacity.

   44. No emergency necessitated the calls

   45. Each call was sent by an ATDS.

      Lifestyles Development, LC, and Florida Vacation Villas Club, Inc., RCI, LLC

            DBA Resort Condominiums International, LLC, Knowing and Willful

                            Violations of Telemarketing Re ulations

   46. Mr. Cunningham asked for an internal do-not-call policy during the in person
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       presentation, but no internal do not call policy was provided.

    47. Lifestyles Development, LLC, and Florida Vacation Villas Club, Inc., RCI, LLC

       DBA Resort Condominiums International, LLC, knowingly violated the TCPA by

       initiating automated calls with pre-recorded messages to the Plaintiff.

    48. Lifestyles Development, LLC, and Florida Vacation Villas Club, Inc., RCI, LLC

       DBA Resort Condominimns International, LLC, never sent Mr. Cunningham any do-

       not-call policy.

    49. On information and belief, Lifestyles Development, LLC, and Florida Vacation

       Villas Club, Inc., RCI, LLC DBA Resort Condominiums International, LLC,and did

       not have a written do-not-call policy while it was sending Mr. Cunningham text

       messages.


    50. On information and belief. Lifestyles Development, LLC, and Florida Vacation

       Villas Club, Inc., RCI, LLC DBA Resort Condominiums International, LLC,did not

       train its agents engaged in telemarketing on the existence and use of any do-not-call

       list.

    51. Lifestyles Development, LLC, and Florida Vacation Villas Club, Inc., RCI, LLC

       DBA Resort Condominiums International, LLC, calls did not provide Mr.

       Cunningham with the name of the individual caller or the name of the person or entity

       on whose behalf the call was being made.

       David Akers, Robert Verkaik, and Bridget Pasquarello s Control over their

       respective corporate entities, including its Illegal Robocalling and Telemarketing

    52. At all times relevant to the claims alleged herein, David Akers, Robert Verkaik, and

       Bridget Pasquarello s were the corporate officer’s and executives in charge of their
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       respective corporations Each and every call was placed on behalf of the corporate

       entites owned by David Akers, Robert Verkaik, and Bridget Pasquarello and was

       placed with their full knowledge and consent..

    53. David Akers, Robert Verkaik, and Bridget Pasquarello were aware that their

       respective corporations, were sending automated, telemarketing calls en masse to

       people, including Plaintiff, and had recieved previous complaints about these types of

       calls

    54. As their corporation s senior-most executives, David Akers, Robert Verkaik, and

       Bridget Pasquarello had the power to stop these spam campaigns.

    55. As their corporation’s, senior-most executive, David Akers, Robert Verkaik, and

       Bridget Pasquarello had the power to fire the managers and employees taking part of

       the day-to-day operations of these illegal robocalling operations. Despite being sued

       by the Plaintiff for illegal telemarketing, David Akers, Robert Verkaik, and Bridget

       Pasquarello continued to use the services of the exact same telemarketers and

       maintain the contracts with the other entities named, which resulted in the Plaintiff

       being called additional times on his behalf and at his direction.

    56. Instead, David Akers, Robert Verkaik, and Bridget Pasquarello allowed the calls to

       continue and the responsible managers to keep their jobs despite his knowledge of

       frequent do-not-call complaints from recipients of these messages, including the

       Plaintiff.

                       The Plaintiffs cell phone is a residential number

    57. The text messages were to the Plaintiffs cellular phonne 615-348-1977, which is the

       Plaintiffs personal cell phone that he uses for personal, family, and household use.
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       The Plaintiff maintains no landline phones at his residence and has not done so for at

       least 10 years and primarily relies on cellular phones to communicate with friends and

       family. The Plaintiff also uses his cell phone for navigation purposes, sending and

       receiving emails, timing food when cooking, and sending and receiving text

       messages. The Plaintiff further has his cell phone registered in his personal name,

       pays the cell phone from his personal accounts, and the phone is not primarily used

       for any business purpose.

               Violations of the Texas Business and Commerce Code 305.053

    58. The actions of Lifestyles Development, LLC, and Florida Vacation Villas Club, Inc.,

       RCI, LLC DBA Resort Condo iniums International, LLC, violated the Texas

       Business and Commerce Code 305.053 by placing automated calls to a cell phone

       which violate 47 USC 227(b). The calls by Lifestyles Development, LLC, and Florida

       Vacation Villas Club, Inc., RCI, LLC DBA Resort Condominiums International,

       LLC, and her corporation violated Texas law by placing automated calls to a cell

       phone which violate 47 USC 227(c)(5) and 47 USC 227(d) and 47 USC 227(d)(3)

       and 47 USC 227(e).

    59. The calls by Lifestyles Development, LLC, and Florida Vacation Villas Club, Inc.,

       RCI, LLC DBA Resort Condominiums International, LLC, violated Texas law by

       spoofing the caller ID s per 47 USC 227(e) which in turn violates the Texas statute.
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                                 I. FIRST C AIM FOR RE IEF

        (Non-Emergency Robocalls to Cellular Telephones, 47 U.S.C. § 227(b)(1)(A))

                                    (Against All Defendants)

            1. Mr. Cunningham realleges and incorporates by reference each and every

    allegation set forth in the preceding paragraphs.

           2. The foregoing acts and omissions of Defendants and/or their affiliates or

    agents constitute multiple violations of the TCPA, 47 U.S.C. § 227(b)(1)(A), by making

    non-emergency telemarketing robocalls to Mr. Cunningham s cellular telephone number

    without his prior express written consent.

           3. Mr. Cunningham is entitled to an award of at least $500 in damages for


    each such violation. 47 U.S.C. § 227(b)(3)(B).

           4. Mr. Cunningham is entitled to an award of up to $1,500 in damages for

    each such knowing or willful violation. 47 U.S.C. § 227(b)(3).

           5. Mr. Cunningham also seeks a permanent injunction prohibiting

    Defendants and their affiliates and agents from making non-emergency telemarketing

    robocalls to cellular telephone mu bers without the prior express written consent of the

    called party.


                                n. SECOND CLAIM FOR RELIEF

           (Telemarketing Without Man ated Safeguards, 47 C.F.R. § 64.1200(d))

                                    (Against All Defendants)

           6. Mr. Cunningham realleges and incorporates by reference each and every


    allegation set forth in the preceding paragraphs.
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           7.         The foregoing acts and omissions of Defendants and/or their affiliates or

    agents constitute multiple violations of FCC regulations by making telemarketing

    solicitations despite lacking:

                   a. a written policy, available upon demand, for maintaining a do-not-

    call list, in violation of 47 C.F.R. § 64.1200(d)(1);2

                   b. training for the individuals involved in the telemarketing on the

    existence of and use of a do-not-call list, in violation of 47 C.F.R. § 64.1200(d)(2);3 and,

                   c. in the solicitations, the name of the individual caller and the name

    of the person or entity on whose behalf the call is being made, in violation of 47 C.F.R. §

    64.1200(d)(4).4

           8. Mr. Cunningham is entitled to an award of at least $500 in damages for

    each such violation. 47 U.S.C. § 227(c)(5)(B).

           9. Mr. Cunningham is entitled to an award of up to $1,500 in damages for

    each such knowing or willful violation. 47 U.S.C. § 227(c)(5).

           10. Mr. Cunningham also seeks a permanent injunction prohibiting

    Defendants and their affiliates and agents from making telemarketing solicitations until

    and unless they (1) implement a do-not-call list and training thereon and (2) include the

    name of the individual caller and AFS s name in the solicitations.




    2 See id. at 425 (codifying a June 26, 2003 FCC order).
    3 See id. at 425 (codifying a June 26, 2003 FCC order).
    4 See id. at 425 - 26 (codifying a June 26, 2003 FCC order).
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            m.THIRD CLAIM FOR RELIEF: Violations of The Texas Business and

                                       Commerce Code 305.053

            11. Mr. Cunningham realleges and incorporates by reference each and every

    allegation set forth in the preceding paragraphs.

            12. The foregoing acts and omissions of Defendants and/or their affiliates or

    agents constitute multiple violations of the Texas Business and Commerce Code

    305.053, by making non-emergency telemarketing robocalls to Mr. Cunningham s

    cellular telephone number without his prior express ritten consent in violation of 47

    use 227 et seq. The Defendants violated 47 USC 227(d) and 47 USC 227(d)(3) and 47

    USC 227(e) by using an ATDS that does not comply with the technical and procedural

    standards under this subsection.

            13. Mr. Cunningham is entitled to an award of at least $500 in damages for

    each such violation.Texas Busine s and Commerce Code 305.053(b)

            14. Mr. Cunningham is entitled to an award of up to $1,500 in damages for

    each such knowing or willful violation. Texas Busines and Commerce Code

    305.053(c).


                                       IV. PRAYER FOR RELIEF

           WHEREFORE, Plaintiff Craig Cunningham prays for judgment against

    Defendants Lifestyles Development, LLC, and Florida Vacation Villas Club, Inc., RCI,

    LLC DBA Resort Condominiums International, LLC, David Perme, Robert Verkaik, and

    Bridget Pasquarello jointly and severally as follows:
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             A. Leave to amend this Complaint to name additional DOEs as they are

    identified and to conform to the evidence presented at trial;

             B. A declaration that actions complained of herein by Defendants violate the

    TCPA and Texas state law;

             C. An injunction enjoining Defendants and their affiliates and agents from

    eng ging in the unla ful conduct set forth herein;

             D. An award of $3000 per call in statutory damages arising from the TCPA

    intentional violations jointly and severally against the corporation and individual for 15

    calls.


             E. An award of $ 1,500 in statutory damages arising from violations of the

    Texas Business and Commerce code 305.053

             F. An award to Mr. Cunningham of da ages, as allowed by law under the

    TCPA;

             G. An award to Mr. Cunningham of interest, costs and attorneys fees, as

    allowed by law and equity

             H. Such further relief as the Court deems necessary, just, and proper.




                                      1/2/2019

    Craig Cunningham, Plaintiff, Pro-se 3000 Custer Road, ste 270-206, Plano, Tx 75075
